           Case 12-62216-abf7                     Doc 8         Filed 12/11/12 Entered 12/11/12 14:35:25         Desc Main
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MOW 1007-1.2 (05/07)
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF MISSOURI

IN RE                                                                         )
                                                                              )
Joshua Ronald Yates                                                           )     Case No.
                                                                              )
                                                                              )
                                            Debtors.                          )

                                        DEBTOR'S EVIDENCE OF NO EMPLOYER PAYMENTS



I,    Joshua Ronald Yates             , hereby state and declare under penalty of perjury that (check the box that applies):

                           I received no payment from any employer for the 60 days prior to filing the petition.

                         I received no payment from any employer from          to      prior to the filing of the petition.
                       Payment advices for the remainder of the 60-day period have been provided.

                         I was self-employed. Net income for 60 days prior to filing the petition, itemized to show how the
                       amount is calculated is (shown below or in the attachment).


                                                                       /s/ Joshua Ronald Yates
                                                                       Joshua Ronald Yates
                                                                       Name of Debtor




Instructions: File as a separate document on the date the voluntary petition is filed.
ECF Event: Bankruptcy>Other>Debtor Evidence of No Employer Payments.
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